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AO    442 (Rev    II    II)    Arrest Warrant




                                                       UNITED STATES DISTRICT COURT
                                                                               for the

                                                                       District of Columbia

                              United States of America
                                             v.
                                                                                        Case: 1:24-mj-00136
                                 Nathaniel Noyce                                        Assigned To : Harvey, G. Michael
                                                                                        Assign. Date: 4/16/2024
                                                                                        Description: Complaint WI Arrest Warrant
                                        Defl!lIdalll



                                                                    ARREST WARRANT
To:        Any authorized law enforcement officer

           YOU ARE COMMANDED                             to arrest and bring before a United States magistrate judge without unnecessary delay
(name o/person         (0 be orresled)                              Nathaniel Noyce
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        0 Superseding Indictment    0 Information       0 Superseding lnfonnation                                                  N Complaint
o Probation Violation Petition    0 Supervised Release VIOlation Petition    0 Violation Notice                                                 0 Order of the Court
 This offense is briefly described as follows:
 18 U.S.c.       § III (a)( I) - Assaul!ing. Resisting. or Impeding Certain Officers:
 18 U.s.c.       § 231 (a)(3) - Civil Disorder;
 18 usc.         § I 752(a)( I) - Entering or Remaining in any Restricted Building or Grounds;
 18 USc.         § 1752(a)(2) - Disorderly or Disruptive Conduct in a Restricted Building or Grounds:
 18 U.s.c.       § 1752(a)(4) - Engaging In Physical Violence in a Restricted Building or Grounds;
 40 U.S.c.       § SI04(e)(2)(D} - Disorderly Conduct in a Capitol Building or Grounds;
 40 USC.         § SI04(e)(2)(F)    - Act of Physical Violence in the Capitol Grounds or Buildings;
 40 U.S.c.       § SI04(e)(2)(G) - Parading, Demonstrating. or Picketing in a Capitol Building or Grounds.


Date:                  04 I ,21124
                                                                                                       Issuillg officer 's siglla/ure



City and state:                                 Washin 'ton, D.C.                              G. Michael       Harvey.            U.S. Magistrate       Judge
                                                                                                            Prlll'"d    lIame (ll1d IItte



                                                                               Return

             This warrant ~as received on, ~/{/Ir)                  Otf/I1)UZ,'i    ,and the person was arrested on (dale)                      19 C;1I'// JOzt/
at (city (lild S(Ole)  4)bt,/'V'l~     VIJ

Date:      1'1 tY/'l'/ ttJW
                                                                                                      Arrl!SlIlIg      officer's    sigll{llllr.?



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